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                      IN THE UNITED STATES DISTRICT COURT FOR THE
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                                EASTERN DISTRICT OF CALIFORNIA
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10      MARIA TORRES and MELCHOR            )               CV F 02-6385 AWI LJO
        TORRES, individually and as         )
11      Administrators of the Estate of     )               CONSOLIDATED WITH CV F 03-5999
        EVERARDO TORRES,                    )
12                                          )
                          Plaintiffs,       )               ORDER GRANTING REQUEST TO
13                                          )               CONTINUE TRIAL AND OTHER
               v.                           )               DATES
14                                          )
        CITY OF MADERA, MARCY               )
15      NORIEGA, individually and as a      )
        member of the Madera Police         )
16      Department, and DOES 1 through 50,  )
        inclusive,                          )
17                                          )
                          Defendants.       )
18                                          )
        ___________________________________ )
19                                          )
        AND RELATED CROSS-ACTIONS           )
20      ____________________________________)
21
22          This action arises from an incident in which Officer Marcy Noriega (“Officer Noriega”)
23   shot and killed Everardo Torres (“Everardo”).     Everardo’s estate and family (“Plaintiffs”) have
24   sued Officer Noriega and the City of Madera (“Defendants”) under 42 U.S.C. § 1983 and state
25   law. In a consolidated case, the City of Madera and Officer Noriega have sued Taser
26   International (“Taser”) under a products liability theory.
27          On June 27, 2005, the court issued a memorandum opinion and order granting Plaintiffs’
28   request for judgment pursuant to Rule 54(b) on Plaintiff’s civil rights claim.
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 1           On July 1, 2005, all counsel filed a joint stipulation to continue the trial and other
 2   pertinent dates in this action. Plaintiffs state that they intend to file an appeal within thirty days.
 3           In light of Plaintiffs’ intent to appeal, the court finds good cause to vacate the trial and
 4   other pertinent dates. Because the length of an appeal is unknown, the court declines to set a
 5   new trial date at this time. After the appeal has been resolved, the parties should notify the
 6   court, and the court will set this matter for trial at the next available trial date.
 7           Accordingly, the court ORDERS that:
 8   1.      The parties request to continue the trial and other pertinent dates is GRANTED;
 9   2.      The trial and all other previously set deadlines are VACATED;
10   3.      This action is HEREBY STAYED to allow Plaintiffs to appeal to the Ninth Circuit;
11   4.      Within ten days of any ruling by the Ninth Circuit, Plaintiffs are DIRECTED to inform
12           the court about the status of this case; and
13   5.      Within fifteen days of any final ruling by the Ninth Circuit, the parties SHALL FILE a
14           request to lift the stay, a status report regarding this action, and a request for a new trial
15           date.
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17   IT IS SO ORDERED.
18   Dated:      July 5, 2005                              /s/ Anthony W. Ishii
     0m8i78                                          UNITED STATES DISTRICT JUDGE
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